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                        APPEAL NO. 22-13513-AA

               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT

                          MATTHEW SCHRIER,

                              APPELLANT,

                                   v.

                         QATAR ISLAMIC BANK,

                               APPELLEE.

  ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
  DISTRICT OF FLORIDA, FORT LAUDERDALE DIVISION, NO. 20-CV-60075-RKA


             APPELLANT MATTHEW SCHRIER’S REPLY BRIEF




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               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to Fed. R. App. P. 26.1 and 11th Cir. R. 26.1-1, 26.1-2, and 26.1-3,

the following is an alphabetical list of the trial judges, attorneys, persons, firms,

partnerships, and corporations that are known to have an actual or potential interest

in the outcome of this appeal:

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             Florida)

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 29.     Weiss, Jonathan R. (Former Trial Counsel for Appellee)
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   30.       Wiggin & Dana, LLP (Former Trial Counsel Law Firm for Appellant)

      Matthew Schrier is an individual and thus does not have any parent

corporations or publicly held or traded corporations to disclose.
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        Appellee Qatar Islamic Bank (“QIB”) seeks to avoid accountability in U.S.

court for financing the Syrian terrorists who kidnapped and tortured an American

citizen, Appellant Matthew Schrier. But QIB overstates the significance of the New

York transaction records it produced, ignores that its silence about those transactions

is substantive evidence, and disregards the uncontroverted complaint allegations.

QIB has minimum contacts with the United States to support personal jurisdiction,

and this Court should reverse the district court’s dismissal.

                                    ARGUMENT

   I.      QIB misreads the ATA nationwide service provision, which
           authorized Schrier to serve QIB’s Patriot Act agent in New York.

        The Anti-Terrorism Act (“ATA”) nationwide service provision authorizes

“[p]rocess” in an ATA action to “be served in any district where the defendant

resides, is found, or has an agent.” 18 U.S.C. § 2334(a) (emphasis added). Schrier

effected service under this provision by having process delivered to QIB’s Patriot

Act agent, Global Payments Advisory Group (“GPAG”), in New York. Schrier did

not, as QIB incorrectly states, serve GPAG via “email.” The return of service shows

service by hand delivery. Doc. 6.

        QIB protests that it did not designate GPAG to accept service, Appellee’s Br.

at 11, but it disregards the ATA’s authorization for service on “an agent.” 18 U.S.C.

§ 2334(a). Unlike other service rules, the ATA nationwide service provision’s plain

text does not require service on an agent designated to accept process. Cf. Fed. R.
                                          1
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Civ. P. 4(h)(1)(B) (service effected by “delivering a copy of the summons” to an

“agent authorized by appointment … to receive service” (emphasis added)). The

Court should hold that service on GPAG, QIB’s agent, satisfied the ATA.

      QIB suggests Schrier waived this issue, Appellee’s Br. at 13, but that is easily

rejected. Schrier offered the proper interpretation of the ATA’s nationwide service

provision in response to QIB’s first motion to dismiss. Doc. 38 at 1–4. The district

court rejected Schrier’s argument and then “reiterate[d] [its] conclusion” that

“GPAG lacked authority to accept” the summons in the order on appeal. Doc. 182

at 14. QIB’s amenability to service via GPAG was argued and decided below and is

properly before this Court.

      On the merits, QIB misinterprets the statute in five ways.

      First, QIB miscasts the ATA nationwide service provision as a “venue

provision” that “does not address upon whom service may be effected.” Appellee’s

Br. at 14. QIB collapses two separate sentences of the nationwide service provision,

18 U.S.C. § 2334(a), which in full reads:

      Any civil action under [the ATA] against any person may be instituted
      in the district court of the United States for any district where any
      plaintiff resides or where any defendant resides or is served, or has an
      agent. Process in such a civil action may be served in any district where
      the defendant resides, is found, or has an agent.

“The first sentence … is the venue provision and the second sentence is the

nationwide service provision.” Kaplan v. Central Bank of Iran, No. 10-cv-483, 2019



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WL 2103424, at *2 (D.D.C. May 14, 2019). The second sentence is redundant of

the first and makes no sense unless read to specify who “may be served” with

process—namely, an agent. This Court “cannot adopt an interpretation” of the

second sentence “that simply renders it superfluous.” United States v. Hall, 64 F.4th

1200, 2023 WL 2777893, at *3 (11th Cir. Apr. 5, 2023).

      Second, QIB tries to graft Rule 4 onto the ATA nationwide service provision,

claiming the ATA “does not displace [Rule 4’s] requirements.” Appellee’s Br. at 14.

That cannot be right. When Congress incorporates Rule 4 into a service statute, it

does so expressly.1 It did not do so here. What’s more, Rule 4 itself forecloses QIB’s

reading. By Rule 4’s terms, it applies “[u]nless federal law provides otherwise.”

Fed. R. Civ. P. 4(h). The ATA is “federal law,” and it “provides otherwise.” The

ATA itself supplies the manner for service of an ATA action. This Court has

explained in other contexts that “when a federal statute provides for nationwide

service of process,” the statute “becomes the statutory basis for personal jurisdiction

over a person served according to the statute.” SEC v. Marin, 982 F.3d 1341, 1349

(11th Cir. 2020) (emphasis added). The Marin court had no need to consider whether

Rule 4 was also satisfied, because the statute there authorized service.


1
  See, e.g., 28 U.S.C. § 3004 (“A complaint … required to be served” under the
Federal Debt Collection Act “shall be served in accordance with the Federal Rules
of Civil Procedure”); Reed & Martin, Inc. v. Westinghouse Elec. Corp., 439 F.2d
1268, 1277 (2d Cir. 1971) (“The phrase ‘in like manner as other process of the
court’” in 9 U.S.C. § 9 “refers to Fed. R. Civ. P. 4.”).

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      Third, QIB leaps from the statutory phrase “an agent” to the conclusion that

the ATA limits service to “an agent designated to accept service of the summons.”

See Appellee’s Br. at 14–15. That does not follow. The statute’s plain text contains

no such requirement. Nor does QIB’s reading make sense in context of other service

statutes and rules. Congress expressly limits service to agents designated to accept

process when it intends to. See Opening Br. at 16–17 (collecting statutes).

      Comparison to other service statutes makes the point. Rule 4 allows service

on a corporation’s “officer” or “managing or general agent.” By contrast, in patent

actions, plaintiffs may serve a defendant’s “agent or agents.” 28 U.S.C. § 1694.

Courts understand that this statute “does not require that service be made on an

officer or managing agent.” Stanley Works v. Globemaster, Inc., 400 F. Supp. 1325,

1335 (D. Mass. 1975); see also Kerr v. Port Huron Sulphite & Paper Co., 157 F.

Supp. 685, 688 (D.N.J. 1957) (“[W]e note that the above statute does not require that

service be made upon an officer or a managing agent, as in the case of other similar

statutes.” (emphasis added)). So too here. Congress’s decision to allow ATA service

on “an agent,” without limitation, demonstrates its intent to allow broader service

than QIB recognizes. QIB, for its part, simply ignores that the ATA does not include

a limitation found in other service statutes.

      Fourth, for similar reasons, QIB’s reliance on the “normal rules” of agency

law to interpret the statute collapses two conceptually distinct issues. Appellee’s Br.



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at 14–15. Agency law’s “normal rules” no doubt inform whether GPAG is “an

agent” amenable to service under the statute. But QIB has never disputed that GPAG

is “an agent.” For purposes of “the procedural requirement of service,” there simply

“must be authorization for service of the summons” in the form of a statute. Omni

Capital Int’l, Ltd. v. Rudolf Wolff & Co., 484 U.S. 97, 104 (1987). And there can be

no doubt about Congress’s power to authorize by statute service on agents other than

those a defendant agrees may accept service. See, e.g., Eastman Kodak Co. v. S.

Photo Mats. Co., 273 U.S. 359, 374 (1927) (Congress’s power to “authorize the

process to be issued … is not open to question”).

      To add an example to the patent statute cited above, Rule 4 allows service on

an individual by giving the summons to “someone of suitable age and discretion” at

an individual’s home, Fed. R. Civ. P. 4(e)(2)(B), and it allows service abroad “by

other means not prohibited by international agreement, as the court orders,” Fed. R.

Civ. P. 4(f)(3). To say, as QIB does, that the authorization for service turns on the

defendant’s designation of an agent to accept process would deny Congress its long-

recognized power to make parties amenable to service as it sees fit.

      Fifth, QIB’s floodgates argument—that allowing ATA service on GPAG will

“permit plaintiffs to serve private causes of action upon Patriot Act agents”—again

ignores the difference between the ATA nationwide service provision and other

service statutes or rules. QIB’s is amenable to service via its agent GPAG because



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this is an ATA action. The ATA does not allow service in any other cases. 18 U.S.C.

§ 2334(a). For negligence or breach of contract or even other statutory causes of

action, plaintiffs will have to follow Rule 4 or applicable federal service statutes.

Either way, faithfully interpreting the ATA service provision will not end in free-for-

all service on Patriot Act agents, as QIB claims.

         The bottom line is this. Unlike other service statutes that require service on

an agent designated to accept process, the ATA allows service on “an agent,” full

stop. 18 U.S.C. § 2334(a). Congress has the power to make QIB amenable to service

via “an agent,” irrespective of whether QIB designates the agent to accept process.

QIB has never denied that GPAG is its agent. The Court should hold that service on

GPAG effected service on QIB under the ATA and, consequently, that the ATA

provides a statutory basis for the exercise of personal jurisdiction.

         Because Schrier effected service under the ATA nationwide service provision,

the exercise of personal jurisdiction satisfies due process requirements based on

QIB’s “aggregate contacts with the nation as a whole.” Republic of Panama v. BCCI

Holdings (Luxembourg) S.A., 119 F.3d 935, 947 (11th Cir. 1997). Schrier addresses

QIB’s contacts with the United States infra in Part III.

   II.      QIB concedes that it was properly served in Qatar under Rule 4(f).

         QIB did not dispute in the district court and does not dispute on appeal that

Schrier properly served it in Qatar under Rule 4(f). See Appellee’s Br. at 17–18. As



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the district court ruled, Doc. 182 at 19, QIB has thus conceded proper service of the

summons under Rule 4(f). See Fed. R. Civ. P. 12(h) (service defense “waive[d]” if

not asserted in Rule 12 motion). Although, as QIB says, the Court cannot exercise

jurisdiction under the ATA based on service abroad, Appellee’s Br. at 17–18, it can

exercise jurisdiction under Rule 4(k)(2) and the Florida Long-Arm Statute. See

Mwani v. bin Laden, 417 F.3d 1, 8–12 (D.C. Cir. 2005) (holding that Rule 4(k)(2)

confers jurisdiction over a defendant served abroad under Rule 4(f)). Service in

Qatar unlocks these other two statutory bases for jurisdiction, and the Court should

reverse dismissal even if it concludes that QIB was not served via GPAG.

   III.   The ATA and Rule 4(k)(2) provide statutory bases for jurisdiction
          consistent with due process.

      The district court could exercise personal jurisdiction under the ATA and Rule

4(k)(2) based on QIB’s contacts with the United States as a whole. The ATA provides

a statutory basis for jurisdiction because Schrier served QIB under the nationwide

service provision, as discussed above. See Republic of Panama, 119 F.3d at 942.

QIB does not dispute the district court’s ruling that Schrier met three requirements

for jurisdiction under Rule 4(k)(2): (1) that the district court could invoke Rule

4(k)(2) because QIB refused to designate a court where it would be subject to

jurisdiction; (2) that Schrier’s claim arises under federal law; and (3) that Schrier

served QIB. See Appellee’s Br. at 19–20 (quoting Oldfield v. Pueblo de Bahia Lora,

S.A., 558 F.3d 1210, 1218 (11th Cir. 2009)). QIB also concedes that under Rule

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4(k)(2) the “applicable forum for the minimum contacts analysis is the United

States.” Id. at 19; see also Oldfield, 558 F.3d at 1220.

      QIB denies that its contacts with the United States—six correspondent

account transactions                                                        and QIB’s

conspiracy with the terrorists that kidnapped Schrier—suffice for due process.

Appellee’s Br. at 24–39. QIB’s position gives short shrift to the change in the law

announced in Ford v. Montana Eighth Judicial District Court, 141 S. Ct. 1017

(2021), ignores the evidentiary weight of its silence, and fails to credit the complaint

allegations.

      A. QIB is subject to jurisdiction based on New York correspondent
         account transactions.

      QIB admits that it processed six transactions in its New York correspondent

accounts in the period around Schrier’s captivity,



                                                 . Appellee’s Br. at 25–26. Personal

jurisdiction in this case does not, as QIB would have the Court believe, rest on the

“mere maintenance” of correspondent accounts. Id. at 24. Rather, jurisdiction

comports with due process because these six transactions in QIB’s correspondent

accounts “constitute[] purposeful availment and invocation of the benefits of the

forum’s laws.” SEC v. Carrillo, 115 F3d 1540, 1546 (11th Cir. 1997).




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      These six transactions create a “relationship among [QIB], the forum, and the

litigation” that supports personal jurisdiction. Ford, 141 S. Ct. at 1028. QIB

disagrees. But its argument has two fundamental flaws.

      First, like the district court, QIB relies solely on the transaction documents to

argue that the transactions do not relate to Schrier’s claims. QIB apparently has no

answer to Schrier’s point that its “silence” at its deposition is “substantive evidence.”

United States v. Wilchcombe, 838 F.3d 1179, 1191 (11th Cir. 2016). QIB never

addresses its conspicuous refusal to testify except to say that it should not result in

an adverse inference. Appellee’s Br. at 32. That is wrong; QIB’s silence should

result in an adverse inference as a sanction under Rule 30(d), a point Schrier

addresses infra Part V. But silence has evidentiary value irrespective of any sanction.

QIB chooses to ignore that principle. This Court cannot.

      The jurisdiction-supporting relationship between the six transactions and this

litigation comes into view when looking at all the evidence—including what QIB

refused to say. Schrier acknowledges the district court finding that, on their face,

the transaction documents “strongly suggest that the three transactions” that

preceded his escape funded legitimate organizations.           Doc. 182 at 38.       But

transaction documents are far from the most reliable evidence of terror financing. A

Nusra Front donor would not have written “for Schrier’s detention” in the memo




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line. QIB’s testimony was the only realistic way to discover what lay behind the

documents, and to determine what QIB knew about the transactions.

      Yet when asked directly, QIB refused to say whether the six transactions

benefited the Nusra Front or Ahrar al-Sham—the Syrian terrorist groups that held

Schrier captive. Doc. 158 at 28. QIB could have denied it, or said it did not know,

but it chose to refuse to answer. Silence is powerful evidence because “it is assumed

in such circumstances that the accused would be more likely than not to dispute an

untrue accusation.” United States v. Hale, 422 U.S. 171, 176 (1975).

      The Court must weigh QIB’s silence in Schrier’s favor because, when the

evidence conflicts, the Court “must construe all reasonable inferences in favor of the

plaintiff.” Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990). What’s more, the

Court must accept that QIB knowingly used its correspondent account to finance

Syrian terrorism because Schrier alleged that it did. Doc. 149 ¶ 233. QIB would

have the transaction documents trump this and every other allegation in the case, but

the documents do not go so far—especially given QIB’s refusal to testify. The Court

must accept the complaint as true “to the extent … uncontroverted by the defendant’s

affidavits.” Madara, 916 F.2d at 1514. Not only has QIB failed to controvert the

allegation that it knew its correspondent account supported Syrian terrorism, its

refusal to answer any questions about whether these transactions financed the Nusra

Front or Ahrar al-Sham is substantive evidence that they did. Doc. 158 at 28.



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      Second, QIB discounts the three post-escape transactions because, it says,

these transactions cannot as a matter of law create personal jurisdiction unless they

precede Schrier’s escape. Appellee’s Br. at 28. The district court reached the same

conclusion. Doc. 182 at 48. But this Court cannot accept the principle QIB urges.

Ford expressly rejected any “strict causal relationship” in the personal jurisdiction

analysis. 141 S. Ct. at 1026. To require as a matter of law that QIB’s forum contacts

precede Schrier’s escape is “strict causation” by another name.

      The post-escape transactions support jurisdiction because they carried on with

QIB’s course of financing Syrian terrorism. The last transaction about which QIB

produced evidence, executed

                                                                                        .

Doc. 169, Exs. F, I. QIB had




                                                        . Doc. 154 ¶¶

             .                                     was part of that same course of

conduct;




                                                                       R

                                                . Doc. 149 ¶¶          .



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      QIB again falls back on the correspondent transaction documents to dispute

the well-pleaded allegations that it had a course of financing Syrian terrorism.

Appellee’s Br. 29 n.15. But QIB did not produce evidence of transactions in al-

Kabi’s or Qatar Charity’s accounts in Syria. QIB made its choice not to controvert

Schrier’s allegations that it knew that al-Kabi and Qatar Charity used their QIB

accounts to finance the Nusra Front and Ahrar al-Sham. Even where QIB presents

some evidence, the Court must accept unconverted allegations as true. See Madara,

916 F.2d at 1514. The upshot is that QIB cannot overcome the allegations of its

course of conduct lending its services to finance Syrian terrorism. And when the

Court accepts that, it follows that the last transaction,




                                  .

      This result is fully consonant with the fairness concerns that underlie due

process. See Oldfield, 558 F.3d at 1223–24. QIB can hardly claim surprise that it

should be called into U.S. court to answer for

                                         .

                                                                               makes

personal jurisdiction foreseeable. The fortuity of Schrier’s escape prior to the last




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transaction did not

                                                                .

      For this reason, QIB’s efforts to distinguish other cases is misplaced. To be

sure, some courts have exercised personal jurisdiction based on more transactions

than are present here. See, e.g., Licci ex rel. Licci v. Lebanese Canadian Bank, SAL,

732 F.3d 161 (2d Cir. 2013). But nothing in those cases requires millions of dollars

of transfers or dozens of transactions. Nor could they consistent with Supreme Court

precedent, which holds “even a single act can support [personal] jurisdiction.”

Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 n.17 (1985).

      Finally, QIB faults Schrier for the lack of precedent dealing with contacts like

the post-escape transactions. But the limited case law should come as no surprise.

Prior to Ford, this Circuit required but-for causation; a forum contact did not matter

for jurisdiction unless it was “a ‘but-for’ cause of the tort.” Waite v. All Acquisition

Corp., 901 F.3d 1307, 1315 (11th Cir. 2018). Many other circuits imposed the same

requirement—or even stricter proximate cause requirements. See, e.g., Compania

de Inversiones Mercantiles, S.A. v. Grupo Cementos de Chihuaha S.A.B. de C.V., 970

F.3d 1269, 1285 (10th Cir. 2020) (“[I]n contract actions, we have consistently

applied the more restrictive proximate-cause approach.”); In re del Valle Ruiz, 939

F.3d 520, 530 (2d Cir. 2019) (“[W]e have always required some causal relationship

between an entity’s in-forum contacts and the proceeding at issue.”); O’Connor v.



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Sandy Lane Hotel Co., 496 F.3d 312, 323 (3d Cir. 2007). A contact must obviously

come before a tort to “cause” it. Until recently, then, courts could not lawfully

exercise jurisdiction based on contacts that post-date a tort. The Supreme Court

changed all that in Ford.

      B. QIB is subject to jurisdiction because of its conspiracy with the
         Nusra front and Ahrar al-Sham.

      Schrier alleged that QIB conspired with the Nusra Front and its agent Saad al-

Kabi to fundraise for Syrian terrorism. QIB did not submit contrary evidence.

Accepting those uncontroverted allegations as true, as the Court must, see Madara,

916 F.2d at 1514, the district court had jurisdiction based on the conspiracy. This

Court should reverse its error in failing to exercise jurisdiction.

      As an initial matter, the Court should reject QIB’s argument that Rule 4(k)(2)

precludes conspiracy jurisdiction. Appellee’s Br. at 34–35. Rule 4(k)(2) authorizes

jurisdiction “consistent with the United States Constitution and laws.” Under that

broad grant of authority, district courts may exercise personal jurisdiction to the outer

limits of due process—which undoubtedly includes conspiracy jurisdiction. In a

telling omission, QIB does not dispute that state long-arm statutes authorizing

conspiracy jurisdiction are “completely in line with” due process. Kyko Global, Inc.

v. Prithvi Info. Sols, Ltd., No. 2:18-cv-1290, 2020 WL 3654951, at *15 (W.D. Pa.

July 6, 2020). There is no cogent reason due process would allow conspiracy




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jurisdiction under state law but not Rule 4(k)(2). Appellee’s Br. at 34–35. The Court

should therefore hold that conspiracy jurisdiction is cognizable under Rule 4(k)(2).

      Since Rule 4(k)(2) allows the exercise of conspiracy jurisdiction, the district

court erred by declining to exercise jurisdiction based on QIB’s conspiracy with the

Nusra Front. QIB, for its part, ignores Schrier’s detailed allegations of a conspiracy.

QIB specifically feigns ignorance of Nusra Front fundraiser Saad al-Kabi’s use of

its services to fund Syrian terrorism, claiming its own due diligence protocol would

not have put it on notice of al-Kabi’s Nusra Front affiliation. Appellee’s Br. at 36.

      QIB’s argument is contrary to the uncontroverted allegations, which the Court

must credit. See Madara, 916 F.2d at 1514. QIB’s due diligence policies required

it to verify the identity of a person opening an account and the purpose of the

account, as well as periodic monitoring of the account in light of its declared

purpose. Doc. 149 ¶ 246. No later than May 2013, while Schrier was in a terrorist-

run prison, al-Kabi opened a QIB account in the name of his minor child. Id. ¶ 115.

Al-Kabi used that account to run one of the most high-profile fundraising campaigns

for Syrian terrorism in Qatar, including soliciting donations on social media and

events at Qatar’s Grand Mosque. Id. ¶¶ 117, 139, 185, 242. Donors from countries

around the Middle East sent money to the account, id. ¶ 136, and enough money

passed through the account to equip seven hundred terrorists, id. ¶ 195—hardly the

sort of activity one would expect in a minor’s account. “[K]nowledge … may be



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alleged generally,” Fed. R. Civ. P. 9(b), and these allegations more than plausibly

allege QIB knowingly agreed to provide financial services for al-Kabi’s fundraising,

and then in fact did so. The allegations thus establish two elements of conspiracy:

an agreement, and QIB’s participation in it. See Charles Schwab Corp. v. Bank of

Am. Corp., 883 F.3d 68, 86 (2d Cir. 2018).

      The Court must credit these allegations, notwithstanding QIB’s claim that they

are “factually unsupported.” See Madara, 916 F.3d at 1514. QIB submitted no

evidence of its due diligence policies, no evidence of its application of those policies

to the al-Kabi account, no evidence of its communications with al-Kabi, no evidence

of what it knew about al-Kabi, and no evidence of what it knew about the Madid

campaign. Not only that, QIB convinced the district court that it should not have to

provide such evidence. See Doc. 147 (denying Schrier’s motion to compel evidence

of due diligence as “merit-based discovery”). QIB’s failure to controvert Schrier’s

allegations means the Court must accept the allegations as true.

      QIB’s Response Brief scarcely addresses the final element of conspiracy

jurisdiction—an act in support of the conspiracy in the forum. See Charles Schwab

Corp., 883 F.3d at 86. QIB totally ignores the Nusra Front’s conversion of Schrier’s

accounts in the United States. Doc. 147 ¶¶ 73–80. And it dismisses the in-forum

effects of the Nusra Front torturing Schrier to extract a ransom from the U.S.

government, id. ¶¶ 58–72, because QIB says it was not a “primary participant” in



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the kidnapping, Appellee’s Br. at 37. But QIB does not (and cannot) dispute the

principle that a conspiracy makes “[e]ach” co-conspirator “responsible for the

others’ actions.” Halberstam v. Welch, 705 F.2d 472, 477 (D.C. Cir. 1983). Nor does

QIB dispute that the district court would have jurisdiction over the Nusra Front. By

joining the conspiracy, QIB became subject to personal jurisdiction based on the

Nusra Front’s conduct, just as if it had committed the Nusra Front’s acts itself.

      C. QIB is subject to jurisdiction based on the in-forum effects of its
         conduct.

      QIB is also subject to jurisdiction based on the U.S. effects of its support of

anti-American terrorists. QIB wrongly conflates this distinct basis for jurisdiction

with conspiracy jurisdiction. Appellee’s Br. at 37. The Court can impute all the

Nusra Front’s forum contacts to QIB based on the conspiracy, see Halberstam, 705

F.2d at 477, “even with respect to actions that took place before [QIB] joined.” Koch

v. Royal Wine Merchs., Ltd., 907 F. Supp. 2d 1332, 1346–47 (S.D. Fla. 2012). Under

the effects test, QIB is subject to jurisdiction for its own independent conduct of

financing the Nusra Front and Ahrar al-Sham. See Mwani v. bin Laden, 417 F.3d 1,

14 (D.C. Cir. 2005); Wultz v. Islamic Republic of Iran, 755 F. Supp. 2d 1, 35 (D.D.C.

2010); Morris v. Khadr, 415 F. Supp. 2d 1323, 1336 (D. Utah 2006).

      QIB claims the district court correctly distinguished Mwani, Wultz, and

Morris. Schrier has already explained why that is not the case in his Opening Brief,




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at 39–44, and need not repeat all that was said here. But two additional points bear

mention.

      First, the effects test subjects QIB to personal jurisdiction even though it was

not “a direct participant” in Schrier’s kidnapping and detention. Appellee’s Br. at

37. The Morris court aptly rejected a similar argument, explaining that terrorists

require “more than a triggerman—they also require financing, planning and

coordinating,” such that “participation in [a] terrorist agenda” will subject a foreign

defendant jurisdiction. 415 F. Supp. 2d at 1336 (emphasis added). QIB knowingly

financed the Nusra Front’s terrorist agenda, Doc. 147 at ¶¶ 111–22, 247–52, 254–

59, and that suffices for jurisdiction under the effects test.

      Second, QIB incorrectly limits its relevant conduct for the effects test to “three

routine financial transactions” in its New York correspondent accounts. Appellee’s

Br. at 38. Under the effects test, “[j]urisdiction … may not be avoided merely

because the defendant did not physically enter the forum.” Mwani, 417 F.3d at 12.

Instead, any conduct “purposefully directed toward residents of another forum” can

establish jurisdiction—including conduct that occurs entirely abroad. Id. at 12–13

(quotation omitted). When assessing the U.S. effects of QIB’s conduct, then, the

Court must consider all that QIB did in Qatar to finance the Nusra Front and Ahrar

al-Sham—including opening an account for al-Kabi to use to finance the Madid




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campaign and donating to Qatar Charity with full awareness of its support of Syrian

terrorism. Doc. 147 at ¶¶ 111–22, 247–52, 254–59, 284, 286.

      D. Schrier preserves his claim that the Fifth Amendment sets different
         personal jurisdiction requirements than the Fourteenth Amendment.

      QIB is correct that this Court has held that “courts should analyze personal

jurisdiction under the Fifth Amendment using the same basic standards and tests that

apply under the Fourteenth Amendment.” Appellee’s Br. at 21 (quoting Herederos,

43 F.4th at 1308). However, other courts have divided on this issue and continue to

do so. Schrier’s Opening Brief cited the divided en banc Fifth Circuit decision of

Douglass v. Nippon Yusen Kabushiki Kaisha, 46 F.4th 226, 249 (5th Cir. 2022) (en

banc). Judge Rao of the D.C. Circuit recently called for her court to “reassess what

limits the Fifth Amendment places on the federal courts’ exercise of personal

jurisdiction over foreign defendants” in an appropriate case. Lewis v. Mutond, 62

F.4th 587, 597 (D.C. Cir. 2023) (Rao, J., concurring). As she and Fifth Circuit Judge

Elrod have noted, the Supreme Court has never decided the limits of jurisdiction

under the Fifth Amendment, and there is good reason to conclude as an originalist

matter that the Fifth Amendment does not impose the same jurisdictional limits as

the Fourteenth Amendment. See id. at 598 (citing Stephen E. Sachs, The Unlimited

Jurisdiction of the Federal Courts, 106 VA. L. REV. 1703 (2020)).




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      To preserve the issue for further review, whether by this Court en banc or the

Supreme Court, Schrier reiterates that the exercise of personal jurisdiction over QIB

would comport with the Fifth Amendment, properly understood.

   IV.   The Florida Long-Arm Statute confers jurisdiction.

      The Florida Long-Arm Statute confers jurisdiction based on QIB’s conspiracy

with the Nusra Front. QIB challenges Florida Long-Arm jurisdiction on three

grounds, none availing.

      First, QIB claims it did not conspire with the Nusra Front. Appellee’s Br. at

41–42. Schrier thoroughly refuted this above, in Part III.B. Suffice it to say that

QIB’s documentary evidence does not controvert Schrier’s conspiracy allegations,

and the Court must therefore accept that QIB conspired with the Nusra Front.

      Second, QIB distinguishes Intercapital Funding Corp. v. Gisclair, 683 So.2d

530 (Fla. 4th DCA 1996), on the ground that it was about venue and not personal

jurisdiction. But in Florida, both personal jurisdiction and venue depend on where

a claim “accrued.” See Fla. Stat. § 47.011 (“Actions shall be brought only in the

county … where the cause of action accrued.”); Beta Drywall Acquisition, LLC v.

Mintz & Fraade, P.C., 9 So. 3d 651, 653 (Fla. 4th DCA 2009). Conversion, as

Gisclair held, is a “continuous act” that “may be said to have been committed” either

where the defendant first took the property or where it converted the property into

cash. Gisclair is not alone in this recognition. In Lilly v. Bronson, the Florida



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Supreme Court held that a defendant who took a boat from one county to another

“may have been charged to have … committed” conversion “in either county.” 177

So. 218, 219 (Fla. 1937). These authorities recognize that conversion accrues both

where the property is first taken and where it is subsequently taken.

        Third, QIB gives the Florida Long-Arm Statute the same restrictive reading

as the district court. QIB says the statute requires its Florida contacts to have been

“essential to the success of the tort.” Appellee’s Br. at 43. But due process is “more

restrictive” than the Long-Arm Statute, Caiazzo v. Am. Royal Arts Co., 73 So.3d 245,

250 (Fla. 4th DCA 2011), and due process does not require causation. Florida courts

have held that their Long-Arm Statute similarly “does not mean proximately caused

by, but only requires a direction affiliation, nexus, or substantial connection.”

Citicorp. Ins. Brokers (Marine), Ltd. v. Charman, 635 So.2d 79, 82 (Fla. 1st DCA

1994).

   V.      This Court should remand for the district court to rule on Schrier’s
           sanctions request.

        Not once in its 49-page order did the district court address QIB’s refusal to

testify about transactions it executed in its U.S. correspondent on behalf of Saad al-

Kabi and Qatar Charity. QIB’s refusal to testify is sanctionable under Rule 30(d)(2)

because it “impede[d]” and “frustrate[d] the fair examination of the deponent.” The

Court should remand for the district court to address Schrier’s sanctions request.




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QIB’s contrary arguments all assume the district court denied the request, an

assumption that finds no support in the record.

      The district court’s order gives the only indication of what it considered and

ruled on. In 49 pages, the order never once mentions sanctions or QIB’s refusal to

testify. The district court’s order did not have to address each of Schrier’s arguments.

But this Court should not simply assume the district court denied the unaddressed

sanctions request, as QIB does. “In the absence of any evidence that [a] motion was

actually disposed of by the district court,” this Court has “vacate[d] and remand[ed]”

for a ruling. Lee v. Wash. Cty. Bd. of Educ., 682 F.2d 894, 897 (11th Cir. 1982).2

The Court should follow that course here because the district court’s non-exercise

discretion gives nothing to review.

      QIB’s remaining arguments ask this Court to affirm the district court as “right

for any reason.” But “[b]ecause [this Court’s] scope of review is narrower and a

district court’s range of choice broader under the abuse of discretion standard,” this

Court is “reluctant to address in the first instance issues to which that standard of


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  QIB cites no authority for the proposition that this Court should deem the district
court to have denied the motion. Schrier has located two published opinions. This
Court held that a district court “implicitly overruled” oral objections made at trial by
failing to rule on them. United States v. Stefan, 784 F.2d 1093, 1100 (11th Cir. 1986).
And this Court held that a district court implicitly overruled a request for oral hearing
by denying a motion. Chalwest (Holdings) Ltd. v. Ellis, 924 F.2d 1011, 1012 (11th
Cir. 1991). There is a world of difference between those cases—one from a live trial
environment and the other that addressed the substance of the motion—and the
district court’s opinion that made no mention of the sanctions request.

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review applies.” Macklin v. Singletary, 24 F.3d 1307, 1311 (11th Cir. 1994). Indeed,

“[o]nly where [this Court] can say that any decision but the one [it] reach[es] would

be an abuse of discretion should [it] proceed to decide an issue subject to that

standard of review without the benefit of a decision … by the district court.” Id. at

1311–12 (emphasis added); see also Sellers v. Rushmore Loan Mgmt. Servs., LLC,

941 F.3d 1031, 1043 n.8 (11th Cir. 2019) (remanding for district court “to address”

class certification “in the first instance” because of “broad discretion”). The proper

course is remand, not to guess at how the district court might rule.

        QIB’s right-for-any-reason arguments also lack merit. The district court had

discretion to impose “appropriate sanctions” under Rule 30(d), contrary to what QIB

says.

        First, QIB did not refuse to answer “merits questions,” Appellee’s Br. at 48, it

refused to answer questions at the heart of the jurisdictional issue. QIB’s position

below and on appeal reveals its “merit questions” argument to be hollow. QIB

refused to testify whether transactions in its correspondent accounts benefited Syrian

terrorism, Doc. 170-4 at 8–14, but it then complained that Schrier failed to show

“any of the funds were transferred to, or otherwise benefited, the Madid campaign,

the Nusra Front, or Ahrar al-Sham.” Doc. 156-1 at 15–16. The district court could

sanction QIB for refusing to testify and then exploiting its refusal to do so.




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      Second, QIB’s claim of untimeliness ignores its post-deposition maneuvering

to avoid testifying about the use of its services. Appellee’s Br. at 46–47. After

refusing to testify at the deposition, QIB asked to keep the deposition “open”—

apparently to have the advantage of formulating answers with advantage of having

previewed Schrier’s examination. Doc. 158-3 at 13. QIB later proposed conferring

about its testimony after a ruling on Schrier’s then-pending motion to compel the

production of documents. Doc. 158-6 at 5. After the ruling came, QIB for the first

time refused to provide a live witness and instead offered attorney-drafted written

answers. Doc. 158-8. Schrier timely requested sanctions three weeks later. What’s

more, the district court’s local rule “is permissive and affords the Court discretion in

whether to consider a late-filed motion.” Sandalwood Estates Homeowner Ass’n,

Inc. v. Empire Indem. Ins. Co., No. 09-cv-807487, 2010 WL 411088, at *2 (S.D. Fla.

Jan. 29, 2010). Even if the request were untimely—and it is not—the decision

whether to hear it lies with the district court. See Macklin, 24 F.3d at 1311.

      Third, QIB tries to shift blame for its misconduct to Schrier, claiming “it was

incumbent on him to timely move to compel.” Appellee’s Br. at 47–48. Not so.

QIB confuses Federal Rule of Civil Procedure 37(b), which allows sanctions for

“failure to comply with a court order,” with sanctions under Federal Rule of Civil

Procedure 30(d), which by its terms does not require the violation of an order. “[T]he

plain language of Rule 30(d)(2) allow[s] courts to consider sanctions sua sponte,”



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regardless of whether a party obtains an order compelling testimony. Sec. Nat’l Bank

v. Day, 800 F.3d 936, 942 (8th Cir. 2015). Even QIB’s cited authority holds that the

opportunity for a post-deposition motion to compel “does not mean that a party can

simply instruct a witness not to answer questions that the party’s lawyer unilaterally

deems irrelevant.” New World Network Ltd. v. M/V Norwegian Sea, No. 05-22916-

CIV, 2007 WL 1068124, at *4 (S.D. Fla. April 6, 2007). QIB claims the right to

preview deposition questions, refuse to answer, and then put the burden on Schrier

to compel. Rule 30(d)(2) does not authorize that kind of discovery gamesmanship.

      QIB also improperly flips the burden. QIB, not Schrier, has the initial burden

of producing evidence to challenge jurisdiction. See Posner v. Essex Ins. Co., 178

F.3d 1209, 1214 (11th Cir. 1999). QIB’s choice not to provide testimony means the

district court should have accepted Schrier’s uncontroverted allegations as true—not

that Schrier had to move to compel answers. Madara, 916 F.2d at 1514.

      As a last resort, QIB says its answers would have exonerated it. Appellee’s

Br. at 48–49. If that is true, why did QIB refuse to answer in the first place? This

Court cannot speculate about what QIB would have said if it lived up to its discovery

obligations. Instead, the Court must draw inferences from QIB’s refusal in Schrier’s

favor, as discussed above, and should remand for the district court to decide what to

do about QIB’s discovery misconduct.




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                                 CONCLUSION

      For these reasons, the Court should reverse the dismissal of Schrier’s case and

remand for further proceedings and a ruling on Schrier’s request for sanctions.

      Respectfully submitted this 27th day of April, 2023.

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      I hereby certify that this brief complies with the type-volume limitation of

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                                       /s/ Matthew R. Sellers
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                           CERTIFICATE OF SERVICE

         I hereby certify that I have filed a true and correct copy of the foregoing

APPELLANT MATTHEW SCHRIER’S REPLY BRIEF using the CM/ECF

filing system which will cause copies to be served on counsel of record. I further

certify that I served an unredacted version of this appendix on counsel of record by

email.

         This 27th day of April, 2023.


                                         /s/ Matthew R. Sellers
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